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    UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE M. MILLER BAKER, JUDGE
____________________________________
                                    )
HLDS (B) STEEL SDN BHD AND          )
HLD CLARK STEEL PIPE CO., INC., )
                                    )
               Plaintiffs,          )
                                    )
          v.                        )
                                    )
THE UNITED STATES,                  ) Court No. 21-00638
                                    )
               Defendant,           )
                                    )
          and                       )
                                    )
WELDED TUBE USA, INC.,              )
WHEATLAND TUBE COMPANY,             )
AND VALLOUREC STAR L.P.,            )
                                    )
          Defendant-Intervenors.    )
____________________________________)


                                ORDER

     Upon consideration of plaintiffs’ motion for judgment upon the

administrative record, responses thereto, replies, the administrative

record, and all other pertinent papers, it is hereby

     ORDERED that plaintiffs’ motion is DENIED; and it is further
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     ORDERED that the Department of Commerce’s determinations

are sustained in all respects.

Dated: ______________
    New York, New York                                      JUDGE




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   UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE M. MILLER BAKER, JUDGE
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               Plaintiffs,          )
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               Defendant,           )
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          and                       )
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WELDED TUBE USA, INC.,              )
WHEATLAND TUBE COMPANY,             )
AND VALLOUREC STAR L.P.,            )
                                    )
          Defendant-Intervenors.    )
____________________________________)

       DEFENDANT’S RESPONSE TO PLAINTIFFS’
    MOTION FOR JUDGMENT ON THE AGENCY RECORD


                               BRIAN M. BOYNTON
                               Principal Deputy
                               Assistant Attorney General

                               PATRICIA M. McCARTHY
                               Director
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                          By: /s/ Claudia Burke
                              CLAUDIA BURKE
                              Assistant Director

OF COUNSEL:                     /s/ Hardeep K. Josan
PAUL K. KEITH                   HARDEEP K. JOSAN
Senior Attorney                 Trial Attorney
Office of the Chief Counsel     U.S. Dept. of Justice
for Trade Enforcement           Civil Division
and Compliance                  Commercial Litigation
U.S. Department of Commerce     Branch
                                26 Federal Plaza, Rm.346
                                New York, New York l0278
                                Tel. No. 212-264-9230 or 9245

August 5, 2022                  Attorneys for Defendant




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    UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE M. MILLER BAKER, JUDGE
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HLDS (B) STEEL SDN BHD AND          )
HLD CLARK STEEL PIPE CO., INC., )
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               Plaintiffs,          )
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          v.                        )
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THE UNITED STATES,                  ) Court No. 21-00638
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               Defendant,           )
                                    )
          and                       )
                                    )
WELDED TUBE USA, INC.,              )
WHEATLAND TUBE COMPANY,             )
AND VALLOUREC STAR L.P.,            )
                                    )
          Defendant-Intervenors.    )
____________________________________)

        DEFENDANT’S RESPONSE TO PLAINTIFFS’
     MOTION FOR JUDGMENT ON THE AGENCY RECORD

     Pursuant to Rule 56.2 of the United States Court of International

Trade, defendant, the United States, respectfully responds to the

motion for judgment on the agency record filed by plaintiffs HLDS (B)

Steel Sdn Bhd and HLD Clark Steel Pipe Co., Inc. (collectively, HLD

Companies). Plaintiffs challenge several aspects of the United States
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Department of Commerce’s (Commerce) final determinations of

circumvention of the antidumping duty and countervailing duty orders

on oil country tubular goods (OCTG) from the People’s Republic of

China (China). Plaintiffs’ motion should be denied because Commerce’s

final determinations of circumvention are supported by substantial

evidence and in accordance with law.

              STATEMENT PURSUANT TO RULE 56.2

I.    Administrative Determinations Under Review

      The administrative determinations under review are Oil Country

Tubular Goods From the People’s Republic of China: Final Affirmative

Determinations of Circumvention, 86 Fed. Reg. 67,443 (Dep’t Commerce

Nov. 26, 2021) (Final Determinations), Appx01000-01001, and

accompanying Issues and Decision Memorandum (IDM), Appx01002-

01021. The period examined in the circumvention inquiries covers

January 1, 2017 to November 30, 2020.

II.   Issues Presented For Review

1.    Whether Commerce’s comparison of HLD Companies’ production

      of welded OCTG to an integrated steel mill’s production of hot-




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     rolled steel is supported by substantial evidence and in accordance

     with law.

2.   Whether Commerce’s conclusion that the HLD Companies’ process

     of assembly or completion in Brunei and the Philippines was

     minor or insignificant is supported by substantial evidence and in

     accordance with law.

3.   Whether Commerce reasonably considered the appropriateness of

     finding circumvention pursuant to 19 U.S.C. §1677j(b)(1)(E).

                       STATEMENT OF FACTS

     In 2010, Commerce issued antidumping duty and countervailing

duty orders on imports of OCTG from China. See Certain Oil Country

Tubular Goods from the People’s Republic of China, 75 Fed. Reg. 28,551

(Dep’t Commerce May 21, 2010) (amended final determ. of sales at less

than fair value and antidumping duty order) (AD Order); Certain Oil

Country Tubular Goods from the People’s Republic of China, 75 Fed.

Reg 3203 (Dep’t Commerce January 20, 2010) (amended final

countervailing duty determ. and countervailing duty order) (CVD

Order) (collectively, Orders).




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     On November 12, 2020, Commerce self-initiated anti-

circumvention inquiries to determine whether certain imports of welded

OCTG completed in Brunei or the Philippines using inputs of hot rolled

steel manufactured in China are circumventing the antidumping and

countervailing duty orders on OCTG from China. See Oil Country

Tubular Goods from the People’s Republic of China, 85 Fed. Reg. 71,877

(Dep’t Commerce November 12, 2020) (notice of self-initiation of anti-

circumvention inquiries), Appx03952.

     On August 10, 2021, Commerce published its preliminary

determinations that welded OCTG completed or assembled in Brunei or

the Philippines using hot-rolled steel inputs manufactured in China and

exported from Brunei or the Philippines to the United States are

circumventing the antidumping and countervailing duty orders on

OCTG from China. See Oil Country Tubular Goods from the People’s

Republic of China, 86 Fed. Reg. 43,627 (Dep’t Commerce August 10,

2021) (prelim. affirmative determ.) (Preliminary Determination),

Appx01022, and accompanying preliminary decision memorandum

(PDM), Appx01025-01041; see also Preliminary Analysis Memoranda,




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Appx01042-01049. This determination was based on Commerce’s

application of statutory criteria under 19 U.S.C. § 1677j(b)(1).

     Weighing the first two of five criteria, Commerce preliminarily

concluded that the OCTG at issue is the same class or kind as

merchandise that is subject to the Orders, and was completed or

assembled in a foreign country (Brunei or the Philippines) using

Chinese-origin hot-rolled steel. PDM at 7-8, Appx01031-01032; see 19

U.S.C. § 1677j(b)(1)(A)-(B).

     Considering the third criteria, Commerce preliminarily

determined that the process of assembly or completion of OCTG in

Brunei or the Philippines is minor or insignificant. PDM at 8-13,

Appx01032-01037; see 19 U.S.C. § 1677j(b)(1)(C). This analysis involved

consideration of five additional statutory sub-factors. See id. §

1677j(b)(2)(A)-(E). Specifically, Commerce found that the level of

investment in Brunei or the Philippines is minor in terms of production

facilities. PDM at 9-10, Appx01033-01034. The HLD Companies

reported that they do not have separate research and development

expenditures for the production of OCTG. Id. at 10, Appx01034. The

nature of the production process, and the extent of the production



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facilities in Brunei and the Philippines, are likewise insignificant. Id.

at 10-12, Appx01034-01036. Finally, “the value of the processing

performed in Brunei or the Philippines as a proportion of the value of

the merchandise imported into the United States is small.” Id. at 12,

Appx01037.

     Considering the fourth criteria, Commerce further preliminarily

determined that the value of the Chinese-origin hot-rolled steel used by

the HLD Companies to produce OCTG in Brunei or the Philippines

represents a significant portion of the total value of the merchandise

exported to the United States. Id. at 12-13, Appx01037-01038; 19

U.S.C. § 1677j(b)(1)(D).

     Commerce then turned to consideration of additional factors in the

circumvention statute. Id. at 14-16, Appx01038-01040; see 19 U.S.C. §

1677j(b)(3). Of note, Commerce preliminarily determined that both the

pattern of trade in Brunei or the Philippines, including sourcing

patterns, and evidence of increased imports of hot-rolled steel input

from China into Brunei or the Philippines, supported a finding of

circumvention of the Orders. Id. Additionally, the HLD Companies

were affiliated with Chinese producers of OCTG. Id.



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     Finally, based on its analyses and conclusions under these factors,

Commerce preliminarily determined that action is appropriate to

prevent evasion of the Orders pursuant to 19 U.S.C. § 1677j(b)(1)(E).

PDM at 16, Appx01040.

     On November 19, 2021, Commerce issued its final determination

that certain imports of welded OCTG completed in Brunei or the

Philippines using imports manufactured in China are circumventing

the Orders. See Final Determinations, Appx01000-01001. Commerce

continued to find, pursuant to 19 U.S.C. § 1677j(b), that OCTG

completed in Brunei or the Philippines from Chinese-origin hot-rolled

steel are circumventing the Orders and should be considered within the

scope of those orders. IDM, Appx01002. In support, Commerce

reiterated the statutory framework and continued its conclusions from

the Preliminary Determination with respect to the five statutory

criteria, 19 U.S.C. §§ 1677j(b)(1)(A)-(E) and (b)(2), and other factors for

consideration, id. § 1677j(b)(3)(A).

                     SUMMARY OF ARGUMENT

     Commerce’s determination that OCTG completed or assembled in

Brunei or the Philippines from Chinese hot-rolled steel is circumventing



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the Orders is supported by substantial evidence and in accordance with

law. First, Commerce’s methodology of comparing the production

process of OCTG producers with the production process of integrated

steel mills when analyzing the statutory criteria pursuant to 19 U.S.C.

§ 1677j(b) was reasonable. Specifically, Commerce determined to

evaluate the criteria under 19 U.S.C. § 1677j(b)(2) by comparing an

integrated steel mill’s production of hot-rolled steel with the HLD

Companies’ production of OCTG because “the total production process of

welded OCTG begins with production of hot-rolled steel and the

production of hot-rolled steel is thus in the context of the production of

welded OCTG.” IDM at 8, Appx01009.

     Second, in comparing the HLD Companies’ experience with that of

integrated steel mills, Commerce analyzed each of the criterion under

19 U.S.C. § 1677j(b)(2), and reasonably concluded that the process of

assembly or completion in Brunei and the Philippines is minor or

insignificant.

     Finally, Commerce properly considered whether it was

appropriate in this case to find circumvention, pursuant to 19 U.S.C. §

1677j(b)(1)(E).



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     For these reasons, Commerce’s final determinations of

circumvention should be sustained.

                             ARGUMENT

I.   Applicable Legal Framework

     A.    Standard Of Review

     This Court sustains “‘any determination, finding or conclusion

found’ by Commerce unless it is ‘unsupported by substantial evidence

on the record, or otherwise not in accordance with law.’” Fujitsu Gen.

Ltd. v. United States, 88 F.3d 1034, 1037 (Fed. Cir. 1996) (quoting

19 U.S.C. § 1516a(b)(1)(B)). “Substantial evidence” consists of “such

relevant evidence as a reasonable mind might accept as adequate to

support a conclusion.” Consolidated Edison Co. v. NLRB, 305 U.S. 197,

229 (1938). Substantial evidence may be “less than the weight of the

evidence, and the possibility of drawing two inconsistent conclusions

from the evidence does not prevent an administrative agency’s finding

from being supported by substantial evidence.” Consolo v. Fed. Mar.

Comm’n, 383 U.S. 607, 620 (1966). Therefore, a party challenging

Commerce’s determination under the substantial evidence standard

“has chosen a course with a high barrier to reversal.” Nippon Steel



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Corp. v. United States, 458 F.3d 1345, 1352 (Fed. Cir. 2006) (citation

and internal quotation marks omitted). The Court should sustain

Commerce’s factual determinations as long as they are reasonable and

supported by the record as a whole, even if some evidence detracts from

the agency’s conclusions. Atl. Sugar, Ltd. v. United States, 744 F.2d

1556, 1562-63 (Fed. Cir. 1984) (citation omitted).

     “{T}he antidumping statute reveals tremendous deference to the

expertise of the Secretary of Commerce in administering the

antidumping law.” Fujitsu, 88 F.3d at 1039 (internal quotation and

citation omitted). “Antidumping and countervailing duty

determinations involve complex accounting decisions of a technical

nature, for which agencies possess far greater expertise than courts.”

Id. (citation omitted). “This deference is both greater than and distinct

from that accorded the agency in interpreting the statutes it

administers, because it is based on Commerce’s technical expertise in

identifying, selecting and applying methodologies to implement the

dictates set forth in the governing statute, as opposed to interpreting

the meaning of the statute itself where ambiguous.” Id.




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     The Court would not overturn an agency determination “simply

because the reviewing court would have reached a different conclusion

based on the same record.” Cleo Inc. v. United States, 501 F.3d 1291,

1296 (Fed. Cir. 2007). Accordingly, the Court should “not substitute its

judgment for that of {Commerce} when the choice is ‘between two fairly

conflicting views, even though the court would justifiably have made a

different choice had the matter been before it de novo.’” Goldlink Indus.

Co. v. United States, 431 F. Supp. 2d 1323, 1326 (Ct. Int’l Trade 2006);

Timken Co. v. United States, 699 F. Supp. 300, 306 (Ct. Int’l Trade

1988) (explaining “{i}t is not within the Court’s domain either to weigh

the adequate quality or quantity of the evidence for sufficiency”).

     If an agency’s construction of a statute is at issue, the Court is

guided by Chevron, U.S.A., Inc. v. Natural Resources Defense Council,

Inc., 467 U.S. 837 (1984). Chevron dictates that the Court “must first

carefully investigate the matter to determine whether Congress’s

purpose and intent on the question at issue is judicially ascertainable.”

Timex V.I., Inc. v. United States, 157 F.3d 879, 881 (Fed. Cir. 1998)

(citing Chevron, 467 U.S. at 842-43 & n.9). If the statute is silent or

ambiguous with respect to an issue, the Court determines whether



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Commerce’s interpretation is based upon a reasonable construction of

the statute. Chevron, 467 U.S. at 843. “{S}tatutory interpretations

articulated by Commerce during its antidumping proceedings are

entitled to judicial deference under Chevron.” Pesquera Mares

Australes Ltda. v. United States, 266 F.3d 1372, 1382 (Fed. Cir. 2001);

Timken v. United States, 354 F.3d 1334, 1342 (Fed. Cir. 2004). It is not

the Court’s duty to weigh the wisdom of Commerce’s legitimate policy

choices. Suramerica de Aleaciones Laminadas, C.A. v. United States,

966 F.2d 660, 665 (Fed. Cir. 1992).

     B.    Legal Framework For Circumvention Inquiries

     Circumvention inquiries are governed by 19 U.S.C. § 1677j. There

are several types of circumvention. As relevant here, Commerce may

find circumvention exists when merchandise—of the same class or kind

as that subject to an antidumping or countervailing duty order—is

completed or assembled in a foreign country other than the country to

which the order applies. See id. § 1677j(b). Commerce may find this

type of circumvention if the merchandise assembled or completed in the




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third country meets five primary statutory criteria under section

1677j(b)(1):

           (A) {the} merchandise imported into the United
           States is of the same class or kind as any
           merchandise produced in a foreign country that is
           the subject of . . . {an AD/CVD order},

           (B) before importation into the United States,
           such imported merchandise is completed or
           assembled in another foreign country from
           merchandise which . . . is subject to the order . . .,
           or . . . produced in a foreign country . . . to which
           such order . . . applies,

           (C) the process of assembly or completion in the
           foreign country . . . is minor or insignificant,

           (D) the value of the merchandise produced in the
           foreign country . . . is a significant portion of the
           total value of the merchandise exported to the
           United States, and

           (E) action is appropriate . . . to prevent evasion of
           such order . . . .

Id. § 1677j(b)(1); see also 19 C.F.R. § 351.225(h) (explaining that

Commerce “may include within the scope of an antidumping or

countervailing duty order, at any time such order is in effect, imported

merchandise completed or assembled in a foreign country other than

the country to which the order applies”).




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     Whether the process of assembly or completion under section

1677j(b)(1)(C) is “minor or insignificant” further depends on five sub-

factors:

           (A) the level of investment in the foreign country;

           (B) the level of research and development in the
           foreign country;

           (C) the nature of the production process in the
           foreign country;

           (D) the extent of the production facilities in the
           foreign country;

           (E) whether the value of the processing performed
           in the foreign country represents a small
           proportion of the value of the merchandise
           imported into the United States.

Id. § 1677j(b)(2). No one single sub-factor is controlling. 19 C.F.R. §

351.225(h); Statement of Admin. Action, Accompanying the Uruguay

Round Agreements Act (SAA), H. R. Doc. No. 103-316, vol. 1, at 893

(1994). Commerce will evaluate each of the sub-factors depending on the

totality of the circumstances in the record before it. See SAA at 893.

     The statute further addresses whether merchandise assembled or

completed in a foreign country should be included within the scope of an

antidumping or countervailing duty order; this inquiry depends on



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three sub-factors:

            (A) the pattern of trade, including sourcing
            patterns,

            (B) whether the manufacturer or exporter of the
            merchandise . . . described in {§ 1677j(b)(1)(B)} is
            affiliated with the person who uses the
            merchandise described in {§ 1677j(b)(1)(B)} to
            assemble or to complete in the foreign country the
            merchandise that is subsequently imported into
            the United States; and

            (C) whether imports into the foreign country of
            the merchandise described in {§ 1677(b)(1)(B)}
            have increased after the initiation of the
            investigation that resulted in the issuance of such
            order . . . .

Id. § 1677j(b)(3).

      The legislative history of these circumvention provisions indicates

that their purpose is to “authorize the Commerce Department to apply

antidumping and countervailing duty orders in such a way as to

prevent circumvention and diversion of U.S. law.” Omnibus Trade Act

of 1987, Report of the Senate Finance Committee, S. Rep. No. 100-71, at

101 (1987). Congress has expressed its intention that the

circumvention statute “grant the Commerce Department substantial

discretion in interpreting these terms, and invoking these measures, so

as to allow it flexibility to apply the provisions in an appropriate


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matter” and that Commerce use its authority “to the fullest extent

possible to combat diversion and circumvention of the antidumping and

countervailing duty laws.” Id. at 100. “{A}ggressive implementation” of

the circumvention laws “can foreclose these practices.” Id.

II.   Commerce’s Comparison Of The HLD Companies’
      Production Of OCTG To The Production Processes Of Hot-
      Rolled Steel By Integrated Steel Mills Is Supported By
      Substantial Evidence And In Accordance With Law

      Commerce’s methodology of comparing the production process of

OCTG producers with the production process of integrated steel mills

when analyzing the statutory criteria was reasonable.

      Commerce’s circumvention determinations are supported by

Commerce’s reasonable conclusion that the HLD Companies’ assembly

or completion of OCTG in Brunei or the Philippines is minor or

insignificant. See 19 U.S.C. § 1677j(b)(1)(C). As described above, to

determine whether the process of assembly or completion in a third

country is minor or insignificant, Commerce evaluates the five criteria

provided by 19 U.S.C. § 1677j(b)(2). Here, in evaluating the statutory

criteria, Commerce compared an integrated steel mill’s production of

hot-rolled steel with the HLD Companies’ production of welded OCTG.

See IDM at 6-11, Appx01007-01012. Because welded OCTG is produced


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from hot-rolled steel, and given the capital-intensive nature of hot-

rolled steel production, Commerce’s comparison was reasonable in the

circumvention context and “relevant to whether a producer would

reasonably move its further processing across borders to avoid an

order.” IDM at 6, Appx01007.

      Notably, the statute does not direct Commerce to consider the

factors in any particular way and does not provide any objective

thresholds for what might indicate that the process of assembly or

completion is minor or insignificant. See 19 U.S.C. § 1677j(b)(2). As the

SAA explains, “Commerce will evaluate each of these factors as they

exist either in the United States or a third country, depending on the

particular circumvention scenario. No single factor will be controlling.”

SAA at 893. Additionally, the SAA states that the “provisions do not

establish rigid numerical standards for determining the significance of

the assembly (or completion) activities . . . .” Id. at 894.

      Accordingly, Commerce reasonably determined to evaluate the

criteria under 19 U.S.C. § 1677j(b)(2) by comparing an integrated steel

mill’s production of hot-rolled steel with the HLD Companies’

production of OCTG. See IDM at 6-11, Appx01007-01012. This



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comparison reflected Commerce’s practice to “compare the total

investment required (as well as, separately, production processes and

production facilities) from the beginning of the production process in the

country subject to an antidumping or countervailing duty order to the

investment required (as well as, separately, production processes and

production facilities) to finish the final product in a third country,

rather than to compare the investments (as well as, separately,

production processes and productions facilities) required to perform the

same finishing steps in each country.” Id. at 9, Appx01010. Commerce

explained that, “{a}lthough the investment for welded OCTG, viewed in

isolation, may not be considered significant, the total investment

necessary to produce the subject merchandise gives context to that

figure for purposes of considering whether that investment is indicative

of circumvention.” Id. at 6-7, Appx01007-01008. In other words, “{a}

proper analysis of the investment levels, production facilities, and

production processes in Brunei and the Philippines cannot ignore the

important steps necessary in the total production process of welded

OCTG, starting from the production process of hot-rolled steel.” Id. at

7, Appx01008.



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     Because the circumvention statute does not direct Commerce to

evaluate the factors at 19 U.S.C. § 1677j(b)(2) using any particular

procedure or methodology, Commerce’s choice of methodology warrants

“tremendous deference.” See Fujitsu, 88 F.3d at 1039; JBF RAK LLC,

790 F.3d at 1363. Indeed, this Court has affirmed Commerce’s

comparative approach to analyzing the circumvention factors. Al

Ghurair Iron & Steel LLC v. United States, 536 F. Supp. 3d 1357 (Ct.

Int’l Trade 2021). In Commerce’s final determination of circumvention

of the antidumping and countervailing duty orders on corrosion-

resistant steel products from China, Commerce compared the levels of

investment by United Arab Emirates producers in cold-rolled steel and

corrosion-resistant steel factories with a Chinese company’s investment

in integrated steel mills in China. See Certain Corrosion-Resistant Steel

Products from the People’s Republic of China, 83 Fed. Reg. 23,895 (Dep’t

Commerce May 23, 2018) (affirm. final determ. of circumvention), and

accompanying IDM at 34-35 (CORES Final). In sustaining Commerce’s

reasoning, this Court explained:

           A determination of the third country’s portion of
           the total sum of investment is useful to gauge the
           level of investment {} in a third country.
           Comparative analysis helps also to ensure that


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           larger companies with much smaller operations in
           a third country — operations that may appear
           significant in absolute terms given the size of the
           firm, but that comprise a small share of total
           operations — will not be able to elude an AD/CVD
           order simply on account of the firm’s large overall
           size. Accordingly, a comparative analysis was
           reasonable.

Al Ghurair, 536 F. Supp. 3d at 1368. This Court further explained that

Commerce’s methodology of comparing the entire production process to

the assembly or completion process is consistent with Commerce’s past

practice. See id. at 1369 (“In previous cases involving investment in a

third country, Commerce used a similar type of comparative analysis

and arrived at similar conclusions.” (citing, e.g., Certain Corrosion

Resistant Steel Products from Taiwan, 84 Fed. Reg. 70,937 (Dep’t

Commerce Dec. 26, 2019) (affirm. final determ. of circumvention))).

Therefore, Commerce’s use of the same comparative methodology here

was reasonable.

     The HLD Companies first take issue with Commerce’s statement

that the comparison methodology is appropriate “because it is relevant

to whether a producer would reasonably move its further processing

across borders to avoid an order”, IDM at 6, Appx01007, by arguing that

no such requirement exists in the statute. HLD Br. at 17-18. As an


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initial matter, plaintiffs misinterpret Commerce’s statement.

Commerce was not drawing conclusions about intent or motive to

circumvent an order, but rather emphasizing that it is reasonable to

view the determination of whether the process of assembly or

completion is minor or insignificant in a relative sense.

      At any rate, as described above, Commerce is directed to consider

whether the process of assembly or completion in the foreign country is

minor or insignificant under 19 U.S.C. § 1677j(b)(1)(C) and, in making

that determination, Commerce considers the factors listed in 19 U.S.C.

§ 1677j(b)(2). Commerce’s methodology for its analysis in this case,

consistent with prior cases, was to make a comparison of the HLD

Companies’ production of welded OCTG with an integrated steel mill’s

production of the hot-rolled steel inputs. IDM at 6, Appx01007.

Because the statute does not provide guidance for what levels of activity

regarding these factors in the foreign country would constitute minor or

insignificant processing, Commerce reasonably used a comparison to

the entire production process for the input product, i.e., hot-rolled steel.

Id.




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     Plaintiffs next argue that a comparison of investments of the HLD

Companies’ facilities to the investments of integrated steel production

facilities in China is inappropriate because the investments of the

integrated steel facilities in China are not exclusively used for OCTG

production. See HLD Br. at 19. According to plaintiffs, Commerce

should have either included “integrated mills that are dedicated solely

to the production of finished OCTG” in its analysis, HLD Br. at 20, or

compared the HLD Companies’ levels of investment to those of Chinese

OCTG producers. HLD Br. at 23-24. However, Commerce reasonably

rejected plaintiffs’ alternative comparison methodologies because they

“dilute the large necessary initial investments required by the capacity

of the integrated steel production facilities in China.” IDM at 7,

Appx01008. Specifically, as Commerce explained, Chinese integrated

steel facilities require high thresholds of initial investment (ranging

from $295 million to over $10 billion). See IDM at 7, Appx01008.

Commerce relied on a 2015 OECD report to find that average

investment for a Chinese integrated steel mill is $3.6 billion. Id. By

contrast, information on the record regarding the HLD Companies’

investments in their OCTG production facilities in Brunei and the



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Philippines demonstrates “that they can be built on a much smaller

scale (with record evidence showing investments comparatively low).”

IDM at 7, Appx01009, (citing Preliminary Analysis Memoranda (August

4, 2021) at 2, Appx01043, Appx01047).

     Commerce also explained that production quantity from the

specific production lines submitted by the HLD Companies can change

from time to time depending on the orders and the customers. See IDM

at 8, Appx01009. Therefore, comparing the investments of the OCTG

production in Brunei and the Philippines to investments used for the

production of hot-rolled steel used only for OCTG is not a reliable basis

to segregate the amount of the investment, the proportion of production,

and the extent of the production facilities of a specific producer of hot-

rolled steel required to supply the steel input to a typical OCTG

producer. Id.

     Furthermore, as explained above, Commerce’s past practice is to

compare the total investment required from the beginning of the

production process in the country subject to an antidumping or

countervailing duty order to the investment required to finish the final

product in a third country, rather than to compare the investments



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required to prepare the same finishing steps in each country. IDM at 9,

Appx01010 (citing CORES Final IDM at 35). For example, in Small

Diameter Graphite Electrodes (SDGE) from China, Commerce compared

the level of investment required for a Chinese manufacturer to produce

an unfinished graphitized electrode to the level of investment needed by

the third country producer to perform its finishing processes. See Small

Diameter Graphite Electrodes from China, 77 Fed. Reg. 33,405, 33,412-

13 (Dep’t Commerce June 6, 2012) (preliminary circumvention

determination), unchanged in Small Diameter Graphite Electrodes from

China, 77 Fed. Reg. 47,596 (Dep’t Commerce Aug. 9, 2012). Similarly,

in Polyethylene Retail Carrier Bags from Taiwan, Commerce compared

the level of investment required of Taiwanese producer to produce

polyethylene film tubes with the level of investment for a domestic

producer in the United States to convert the polyethylene film tubes

into finished subject merchandise. See Polyethylene Retail Carrier Bags

from Taiwan, 79 Fed. Reg. 31,302 (Dep’t Commerce June 2, 2014)

(preliminary circumvention determination), and accompanying PDM at

9-10, unchanged in Polyethylene Retail Carrier Bags from Taiwan, 79

Fed. Reg. 61,056 (Dep’t Commerce Oct. 9, 2014).



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     The HLD Companies’ attempt at distinguishing SDGE and

Polyethylene Retail Carrier Bags is unavailing. Specifically, plaintiffs

argue that SDGE is distinguishable because the inputs in that case

were characterized as “unfinished artificial graphite,” whereas here,

hot-rolled steel cannot be characterized as “unfinished oil country

tubular product.” See HLD Br. at 29. The HLD Companies’ argument

fails to recognize, however, that Commerce’s discussion in SDGE of

whether the inputs were characterized as “unfinished artificial

graphite” was unrelated to Commerce’s comparative methodology under

19 U.S.C. § 1677j(b)(1)(C), and instead concerned whether the imported

merchandise was completed from merchandise subject to the order or

from merchandise produced in the foreign country that is subject to the

order under 19 U.S.C. § 1677j(b)(1)(B). See SDGE, 77 Fed. Reg. at

33,410. Here, there is no dispute that the hot-rolled steel input is not

within the scope of the Orders, but rather constitutes merchandise

produced in the foreign country that is subject to the Orders (i.e.,

China). See PDM at 8, Appx01032.

     Plaintiffs similarly argue that Polyethylene Retail Carrier Bags is

distinguishable because the process that Commerce analyzed in that



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case did not account for the production process of polyethylene resin

pellets, the primary input in tubular polyethylene film, which in turn is

the primary input in the polyethylene carrier bags. See HLD Br. at 30.

Plaintiffs miss the point. In each proceeding, Commerce compared the

production of the finished product (i.e., polyethylene retail carrier bags

and OCTG) to the production of the input (i.e., tubular polyethylene film

and hot-rolled steel). See IDM at 10, Appx01011. Although the HLD

Companies argue that, in Polyethylene Retail Carrier Bags, Commerce

did not start with the polyethylene resin pellets that are the input for

tubular polyethylene film, Commerce similarly did not start its

comparison here with the production of the inputs into hot-rolled steel

(e.g., iron ore). In other words, Commerce has consistently compared

the production process for the finished product to the overall production

process for that product by focusing on the production of the inputs

“produced in the foreign country with respect to which such order or

finding applies.” See 19 U.S.C. § 1677j(b)(1)(B).

     Therefore, Commerce’s determination to compare the HLD

Companies’ level of investment, production facilities and production

processes to the manufacture of OCTG in Brunei or the Philippines to



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the manufacture of hot-rolled steel in integrated Chinese steel mills is

reasonable and supported by substantial evidence.

III. Commerce’s Conclusion That The HLD Companies’
     Assembly Or Completion Of OCTG In Brunei And The
     Philippines Is Minor Or Insignificant Is Supported By
     Substantial Evidence And In Accordance With Law

     In comparing the HLD Companies’ experience with that of

integrated steel mills, Commerce reasonably concluded that the process

of assembly or completion in Brunei or the Philippines is minor or

insignificant. Commerce analyzed each of the statutory criteria in turn.

     First, Commerce compared the investments made by the HLD

Companies in their production facilities in Brunei and the Philippines

to the average investment amount of $3.6 billion to build an integrated

hot-rolled steel facility in China and determined that the HLD

Companies’ investments were minor compared to that of an integrated

steel mill. PDM at 9-10, Appx01033-01034.

     Second, Commerce considered that the HLD Companies reported

that they do not have separate research and development expenditures

concerning the production of OCTG. Id. at 10, Appx01034.

     Third, Commerce compared the nature of the production process

of OCTG in Brunei and the Philippines to the production process of hot-


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rolled steel in a fully integrated steel mill. Id. at 10-11, Appx01034-

01035. After explaining the production processes for both products,

Commerce determined that

           {t}he production of hot-rolled steel involves
           multiple high-intensity steps to turn raw
           materials into processed products – from iron ore
           to slab and to thick plate and to hot-rolled steel
           with different thickness and length in each
           product stage. When hot-rolled steel is sourced
           from China, the process of assembly or
           completion into OCTG in Brunei and the
           Philippines mostly consists of slitting, welding,
           forming, heat treatment, cooling, and quality
           control without drastic changes to the length and
           width, and no changes to the thickness, of the
           product as in the production of hot-rolled steel.

Id. at 11, Appx01035. Commerce therefore concluded that the

production process in Brunei or the Philippines is far less intensive

than it would be to produce OCTG without Chinese components (i.e., to

produce the steel and then use it in the production of the OCTG). Id.

     Fourth, concerning the extent of production facilities, Commerce

considered that the facilities required for making hot-rolled steel

included oxygen furnaces and blast furnaces, and that the HLD

Companies’ facilities in Brunei or the Philippines are less extensive

than the production facilities for hot-rolled steel in China. Id.



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     Finally, Commerce considered whether the value of the processing

performed in Brunei or the Philippines represents a small proportion of

the value of the OCTG imported into the United States. Id. at 12-13,

Appx01036-01037. Commerce’s calculations, which plaintiffs do not

challenge, demonstrated that the value of the processing performed in

Brunei and the Philippines as a proportion of the value of the OCTG

imported to the United States is small. Id.; see also Preliminary

Analysis Memoranda at 3, Appx01044, Appx01048. Based on its

analysis of the five factors, Commerce reasonably determined that the

process of assembly or completion in Brunei or the Philippines overall is

minor or insignificant. PDM at 13, Appx01037.

     The HLD Companies contend that production of OCTG in Brunei

or the Philippines is not assembly or completion operations.

Specifically, the HLD Companies argue that their production of welded

OCTG is no less intensive than that of domestic OCTG producers in the

United States. HLD Br. at 39-40. The HLD Companies further argue

that their manufacture of OCTG is not comparable to “screwdriver

operations” that they assert the circumvention statute is designed to

address. HLD Br. at 45. Finally, the HLD Companies assert that their



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production of OCTG is not consistent with dictionary definitions of

“assembly” or “complete.” See HLD Br. at 47-48. The HLD Companies’

arguments are without merit because Commerce followed the statutory

criteria and reasonably analyzed the factors provided by the statute.

     The HLD Companies attempt to use semantics to insert a new

requirement into the circumvention statute, i.e., that the production in

the foreign country must constitute assembly or completion. The HLD

Companies’ arguments ignore, however, that the statute already directs

Commerce to consider the nature of the production process in the

foreign country as part of its determination. See 19 U.S.C. §

1677j(b)(2)(C). Commerce analyzed the production process of OCTG in

Brunei and the Philippines and found it to be relatively less intensive

compared to the production of the hot-rolled steel inputs. See IDM at

12-13, Appx01013-01014.

     The HLD Companies’ argument that their production is no

different than the U.S. OCTG producers also involves considerations

not contained in the circumvention statute. There is nothing in the

circumvention statute, the SAA, or Commerce’s regulations directing




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Commerce to compare the foreign companies’ production process to that

of the U.S. domestic industry.

     The HLD Companies’ reliance on dictionary definitions is

similarly misplaced. Commerce’s determination states that it covers

“certain imports of OCTG completed in Brunei or the Philippines using

inputs manufactured in China.” IDM at 1 (emphasis added),

Appx01002. Because the entire production process from start to finish

for OCTG includes the production of the hot-rolled steel inputs, it is

plain that the HLD Companies, which export welded OCTG, are

“completing” that process by manufacturing welded OCTG from hot-

rolled steel inputs. See id. at 12-13 (describing the process of assembly

or completion for welded OCTG), Appx01013-01014.

     The HLD Companies attempt to introduce still more extra-

statutory considerations, stating that Commerce has “not explained

whether it believes that unfinished hot-rolled steel is completed into

finished hot-rolled steel or whether the hot-rolled steel is in reality

unfinished OCTG that is finished at the HLD Companies’ factories.”

HLD Br. at 48-49. Identifying an “unfinished” product is not required

by the circumvention statute and is not mentioned in the SAA.



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Moreover, such a requirement would run counter to the aim of the

circumvention statute because it would prevent a circumvention finding

whenever an input product could itself be considered a “finished”

product. The SAA, however, provides the example of “electronic

products that rely on many off the shelf components.” SAA at 893. A

product that might be considered “finished” can still be further

assembled or completed into a different finished product, and if such

assembly or completion is minor or insignificant, then it may still

circumvent an order. Therefore, the HLD Companies’ argument relies

on a notion of “complete” that would require the input product to be an

“unfinished” version of the completed product is neither supportable in

the statute nor elsewhere.

     Regarding the HLD Companies’ argument that their

manufacturing operations go beyond assembly or completion processes,

Commerce considered the nature of the production process as part of its

determination that the process of assembly or completion is minor or

insignificant. IDM at 12-13, Appx01013-01014. Commerce explained

that the production of welded OCTG in Brunei or the Philippines using

hot-rolled steel inputs from China is far less intensive than it would be



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to produce OCTG without Chinese components. Id. Specifically,

Commerce considered the production of hot-rolled steel in a fully

integrated steel mill, where “iron ore goes through the sintering

process, coal goes through coke ovens, and these items are combined in

a blast furnace, moved through a hot-metal torpedo car, converter, and

concaster to become a slab.” Id. at 12, Appx01013. A slab, in turn,

        goes through the following processes:

        • Reheating in a furnace at a rolling temperature of
          about 1,250 degrees Celsius.

        • Descaling in a rough rolling mill where the slab
          thickness decreases from 220 mm to 30 mm, the
          slab length increases from 11 meters to a coil
          with 80 meters of heavy plate, and the plate is
          cleaned to remove millscale in several stages
          during hot-rolling.

        • Finish rolling mill where the plate becomes a
          sheet with decreased thickness to between 1.8
          mm and 16 mm and the length increased to up to
          1,300 meters.

        • Laminar Cooling.

        • Coiling.


Id. at 12-13, Appx01013-01014. Commerce compared this process with

the production process of welded OCTG, explaining “that hot-rolled



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steel goes through various phases, including slitting, welding, and

threading and coupling.” Id. at 13, Appx01014. Specifically, Commerce

stated,

           In the slitting phase, hot-rolled steel is vertically
           slit into narrower widths according to the outside
           diameter of the welded pipes to be produced. In
           the welding phase, the hot-rolled steel goes
           through edge welding, loop storage, forming,
           welding, heat treatment, air cooling, water cooling,
           sizing, strengthening, flying saw cut, initial
           quality testing, beveling (if needed), hydraulic
           pressure test, ultrasonic wave inspection, and
           upgrading steel grade (if needed). Then the OCTG
           is threaded and coupled, if necessary.

Id. In comparing the production processes, Commerce explained that

the production of hot-rolled steel “involves multiple high-intensity steps

to turn raw materials into processed products.” Id. Welded OCTG, by

contrast, “mostly consists of slitting, welding, forming, heat treatment,

cooling, and quality control without drastic changes to the length and

width, and no changes to the thickness, of the product as in the

production of hot-rolled steel.” Id. Based on this analysis, Commerce

reasonably concluded that “the nature of the production process in

Brunei or the Philippines is far less intensive than it would be to

produce OCTG without Chinese components (i.e., to produce the steel



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and then use it in the production of OCTG).” Id. Commerce’s

consideration of not just the number of steps involved in the production

processes, but also the nature and intensity of those steps is also

consistent with prior circumvention determinations. See, e.g., Diamond

Sawblades and Parts Thereof From the People’s Republic of China, 84

Fed. Reg. 33,920 (Dep’t Commerce July 16, 2019) (final determ. of anti-

circumvention inquiry), and accompanying Issues and Decision

Memorandum at 9 (DSBs from China) (“We did not focus merely on the

number of production steps taking place in Thailand versus China, but

also examined the nature of the production steps based on the

information on the record.”).

     Moreover, the nature of the production process is just one of the

factors Commerce is directed to consider in determining whether the

process of assembly or completion is minor or insignificant. See 19

U.S.C. § 1677j(b)(2). As explained above, Commerce found that the

other factors also suggested that the process of assembly or completion

in Brunei or the Philippines is minor or insignificant.

     The HLD Companies further argue that Commerce’s analysis of

the production process is inconsistent with its findings in Bell Supply



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Co., LLC v. United States, where Commerce determined “that the major

physical and chemical properties of both finished and unfinished OCTG

are imparted during the steel forming process, that the essential

component of the merchandise is the green tube produced in {China},

and that it is the physical and chemical characteristics of green tube

that determine the products ultimate use as OCTG.” See HLD Br. at

51-52 (citing Bell Supply Co., LLC v. United States, 393 F. Supp. 3d

1229, 1244 (Ct. Int’l Trade 2019) (Bell Supply VI)). However, Bell

Supply VI is distinguishable because that case involved a substantial

transformation analysis for seamless OCTG, while this is a

circumvention determination concerning only welded OCTG.

     First, welded OCTG has a different production process than

seamless OCTG. See ITC Report at I-14 (“OCTG mills manufacture

casing and tubing either by the seamless process or by the electric

resistance-welding (‘ERW’) process, a lower cost method than the

seamless process, depending on service requirements.”), Appx03854. In

particular, the input for welded OCTG “is steel sheet in coil form,” while

the input for seamless OCTG “is a round or square steel billet.” Id. at I-

14 - I-15, Appx03854-03855. Therefore, the comparative analysis



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concerning the production process is not the same for welded OCTG as

it would be for seamless OCTG.

     Second, and more importantly, Commerce’s substantial

transformation analysis is distinct from a circumvention inquiry and

serves a different analytical purpose. In Bell Supply VI, Commerce

used the substantial transformation test in the context of a scope

determination to determine whether unfinished seamless OCTG

(known as “green tubes”) from China were substantially transformed by

the heat treatment process in a third country such that the country of

origin had changed. Bell Supply VI, 393 F. Supp. 3d at 1237. Here, by

contrast, Commerce is not seeking to determine whether the Chinese

hot-rolled steel inputs are substantially transformed such that the

country of origin has changed; rather, Commerce is analyzing whether

circumvention has occurred pursuant to the factors provided in 19

U.S.C. §1677j(b). In its opinion preceding Bell Supply VI, the Court of

Appeals for the Federal Circuit recognized that, “even if a product

assumes a new identity” through substantial transformation, “the

process of ‘assembly or completion’ may still be minor or insignificant,

and undertaken for the purpose of evading an AD or CVD order.” Bell



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Supply Co. LLC v. United States, 888 F.3d 1222, 1230 (Fed. Cir. 2018);

see also DSBs from China at 10 (explaining the “distinct purposes of the

two analyses and the separate factors considered”). Thus, whether or

not OCTG is a separate product from the hot-rolled steel used to

produce it, such that there has been a substantial transformation, is not

dispositive as to a circumvention finding.

     Finally, the HLD Companies argue that because the Court in Peer

Bearing did not permit Commerce to expand the scope of an

antidumping duty or countervailing duty order, that Commerce’s

finding here exceeds its authority. See HLD Br. at 53-54. However, the

HLD Companies’ reliance on Peer Bearing is misplaced. Peer Bearing,

like Bell Supply VI, concerned a substantial transformation test that

Commerce used in making a country-of-origin determination.

Therefore, although the HLD Companies rely on what this Court

“concluded” in Peer Bearing concerning a potential circumvention

analysis, they fail to acknowledge that the Court’s statements regarding

circumvention in Peer Bearing are entirely hypothetical—Commerce did

not conduct a circumvention analysis in that case. See Peer Bearing

Co.-Changshan v. United States, 986 F. Supp. 2d 1389, 1403-05 (Ct.



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Int’l Trade 2014). This Court even clarified in a subsequent opinion

that its findings were based on the record of that individual case,

stating, “in the absence of {a circumvention} analysis Commerce must

interpret scope language reasonably and may not expand it. The court

held that on the record of this individual case, the evidence of record

was not sufficient to support the determination that the TRBs in

question are within the scope when the scope language is reasonably,

and not expansively, interpreted.” Peer Bearing Co.-Changshan v.

United States, 128 F. Supp. 3d 1304, 1315 (Ct. Int’l Trade 2015)

(emphasis added). Here, by contrast, Commerce did conduct a

circumvention analysis and is therefore permitted by the circumvention

statute to include the circumventing merchandise within the scope.

     In sum, the statute provides that Commerce shall consider five

sub-factors under 19 U.S.C. § 1677j(b)(2) when determining whether the

process of assembly or completion is “minor or insignificant” under 19

U.S.C. § 1677j(b)(1)(C). Commerce considered all five of these

subfactors in its review of OCTG production in this case, and

reasonably determined that the process of assembly or completion of

OCTG in Brunei or the Philippines is minor or insignificant.



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IV. Commerce Reasonably Determined That Action Is
    Appropriate To Prevent Evasion Of The Orders, Pursuant
    To 19 U.S.C. § 1677j(b)(1)(E)________________________________

     Plaintiffs argue that Commerce did not properly consider whether

it was appropriate in this case to find circumvention, pursuant to 19

U.S.C. § 1677j(b)(1)(E). See HLD Br. at 54-60. According to plaintiffs, a

finding of circumvention is not appropriate because imports of welded

OCTG from Brunei and the Philippines are “negligible” and “miniscule”,

HLD Br. at 55, 58, and because “little or no interest in protecting U.S.

interests or the U.S. OCTG industry is apparent.” HLD Br. at 58. As

explained below, Commerce properly rejected plaintiffs’ invitation to

consider extra-statutory requirements in determining whether the

circumvention determinations are appropriate under the statute.

     As noted above, the statute provides certain “factors to

consider . . . {i}n determining whether to include merchandise

assembled or completed in a foreign country in a countervailing duty

order or an antidumping duty order or finding under {19 U.S.C. §

1677j(b)(1)}.” 19 U.S.C § 1677j(b)(3). Specifically, the statute provides

that Commerce shall take into account such factors as the pattern of

trade, whether the manufacturer or exporter of the inputs is affiliated



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with the person who uses the inputs to produce the merchandise in the

foreign country, and whether imports of the inputs into the foreign

country have increased since the initiation of the investigation that

resulted in the antidumping or countervailing duty orders. Id. Here,

Commerce considered all three factors and reasonably determined that

action is appropriate to prevent evasion of the Orders.

     First, Commerce found that imports of hot-rolled steel from China

into both Brunei and the Philippines increased at the same time that

imports of welded OCTG from Brunei and the Philippines into the

United States increased. PDM at 14-15, Appx01038-01039. Second,

Commerce found that both HLDS(B) and HLD Clark are affiliated with

Chinese OCTG producers. Id. at 15, Appx01039. Finally, Commerce

again considered the pattern of trade data demonstrating that, from the

period 2014-2016 to the period 2017-2019, imports of hot-rolled steel

from China into Brunei and the Philippines increased by 5,145.6

percent and 170.6 percent, respectively. Id. Considering these factors,

in addition to all the other statutorily required findings, Commerce

preliminarily determined that action is appropriate to prevent evasion

of the antidumping and countervailing duty orders. In the final



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determination, Commerce reiterated its finding that “affirmative

determinations of circumvention are appropriate.” IDM at 15,

Appx01016.

     Rather than discuss these statutory factors, plaintiffs argue that a

finding of circumvention is not appropriate because imports from

Brunei and the Philippines account for a relatively small percentage of

total OCTG imports and the U.S. producers’ market share is currently

over 50 percent. HLD Br. at 55. As Commerce explained, however, the

statute does not direct Commerce to consider market share in

determining whether action is appropriate. See IDM at 15, Appx01016.

     Similarly, the HLD Companies state that “the participation of the

domestic industry in this inquiry has been tepid at best.” HLD Br. at

56. As Commerce explained, however, “the statute gives Commerce the

authority to self-initiate when warranted, and does not require the

participation of the domestic industry to proceed with the

circumvention inquiry.” IDM at 15, Appx01016. Moreover, “U.S.

domestic producers of OCTG actively participated in these

circumvention inquiries by entering their appearances, providing

surrogate country and value information, filing a rebuttal brief



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requesting that {Commerce} continue with the affirmative

determinations . . . and attending the public hearing where they

presented their rebuttal arguments.” Id. Therefore, even if Commerce

were to consider participation of domestic producers, the record

demonstrates that they were active throughout the proceedings.

     The HLD Companies also argue that Commerce failed to explain

why it self-initiated the circumvention inquiry. HLD Br. at 55-56.

Specifically, they argue that Commerce’s self-initiation of a

circumvention inquiry should be an “exception” to the norm because of

“unusual facts.” Id. at 57-58. Unlike the self-initiation of antidumping

duty or countervailing duty investigations, however, Commerce has

never stated—and the circumvention statute does not require—that

self-initiation of circumvention inquiries should be an exception to the

norm. IDM at 16, Appx01017. Similarly, the HLD Companies state

that the “HLD Companies’ exports of OCTG to the United States are too

insignificant to injure the U.S. domestic industry.” HLD Br. at 60.

Commerce again explained that the circumvention statute does not

require that the ITC make an injury determination in connection with a

circumvention inquiry. IDM at 16, Appx01017.



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     In sum, Commerce considered whether action is appropriate by

analyzing the factors provided by the statute and was not required to

take into account any of the extra-statutory considerations raised by the

HLD Companies. Thus, Commerce’s analysis and final determinations

are supported by substantial evidence and in accordance with law.

                           CONCLUSION.

     For these reasons, defendant respectfully requests that the Court

deny plaintiffs’ motion for judgment on the agency record and sustain

Commerce’s final determinations of circumvention in their entirety.




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                               Respectfully submitted,

                               BRIAN M. BOYNTON
                               Principal Deputy
                               Assistant Attorney General

                               PATRICIA M. McCARTHY
                               Director

                          By: /s/ Claudia Burke
                              CLAUDIA BURKE
                              Assistant Director

OF COUNSEL:                    /s/ Hardeep K. Josan
PAUL K. KEITH                  HARDEEP K. JOSAN
Senior Attorney                Trial Attorney
Office of the Chief Counsel    U.S. Dept. of Justice
for Trade Enforcement          Civil Division
and Compliance                 Commercial Litigation
U.S. Department of Commerce    Branch
                               26 Federal Plaza, Rm.346
                               New York, New York l0278
                               Tel. No. 212-264-9230 or 9245

August 5, 2022                 Attorneys for Defendant




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                 CERTIFICATE OF COMPLIANCE

     I hereby certify that this brief complies with the word limitation of

Court of International Trade Standard Chambers Procedures § 2(B)(1)

and contains approximately 7,894 words, excluding the parts of the

brief exempted from the word limitation. In preparing this certificate of

compliance, I have relied upon the word count function of the word

processing system used to prepare the brief.



                         /s/ Hardeep K. Josan
